
62 So.3d 1168 (2011)
STATE of Florida, Appellant,
v.
Vivianna Garrido BLISS, Appellee.
No. 4D10-958.
District Court of Appeal of Florida, Fourth District.
June 1, 2011.
Pamela Jo Bondi, Attorney General, Tallahassee, and Myra J. Fried, Assistant Attorney General, West Palm Beach, for appellant.
Carey Haughwout, Public Defender, and Paul E. Petillo, Assistant Public Defender, West Palm Beach, for appellee.
PER CURIAM.
Affirmed. See State v. Sun, ___ So.3d ___, 2011 WL 2135646 (Fla. 4th DCA 2011).
GROSS, C.J., HAZOURI and CIKLIN, JJ., concur.
